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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

ZACHARY IMEL,

                      Plaintiff,
                                                           Case No.
          vs.

FORTE PRODUCTS,

                      Defendant.


                                           COMPLAINT

Parties

          1.    Plaintiff is a resident of Kansas.

          2.    Plaintiff is an individual with a disability; he has only one hand, which substantially

limits his ability to care for himself and perform manual tasks, lifting, and working. It also

substantially limits his neurological and circulatory and skeletal major bodily functions.

          3.    Defendant previously employed Plaintiff in Kansas.

          4.    Defendant is a Missouri corporation registered to do business in Kansas and doing

business in Kansas. It can be served by service on its resident agent, Paracorp Inc. at 13910 S.

Brougham Dr., Olathe, KS 66062.

Jurisdiction and venue

          5.    This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s complaint is that his employer violated the Americans with Disabilities Act, 42 U.S.C.

§ 12101, a federal law. Defendant does business in Kansas and employed Plaintiff in Kansas, so

venue is appropriate in the federal court there.

Plaintiff’s employment
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       6.       Plaintiff was employed by Defendant in the summer of 2018. In that position, he

frequently worked 10-20 hours a week overtime.

       7.       Plaintiff’s job was to work a machine that required that he push a button using one

hand. At the time he worked for Defendant, he still had both hands.

       8.       If Plaintiff were reinstated, Plaintiff could perform his job with or without

accommodation.

July 1 injury

       9.       On July 1, 2018, Plaintiff’s eyes were irritated by a chemical while at work, which

would be a worker’s compensation injury. When he told his supervisor about the injury, he was

told to “go home.” Plaintiff did so.

Plaintiff’s injury

       10.      Plaintiff was scheduled to work third shift the night of July 4, 2018.

       11.      Prior to going work, Plaintiff was dressed in his work clothes when he went to the

public park to shoot fireworks with his family.

       12.      While shooting fireworks, a person in a neighboring car offered Plaintiff a firework

to light. Plaintiff did not know the individual in the car, but he accepted and lit the firework and it

exploded immediately, blowing off his hand.

       13.      Plaintiff’s family rushed him to the Coffeyville Regional Medical Center.

       14.      The hospital transferred Plaintiff by helicopter to St Francis Hospital in Tulsa where

he had surgery to amputate his hand.

       15.      Before he was life-watched to Tulsa, Plaintiff asked his grandmother to “call him

in” and tell his workplace that he would not be at work that night because he had been seriously

injured. She did so. Her phone records show the call took place at 11:19 PM and lasted 2 minutes.
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Plaintiff’s attempt to return to work

        16.     Plaintiff remained in the hospital for only a few days and was released on July 6,

2018. His left hand was amputated, and his ulnar and radial arteries were ligated. His hand wound

was bandaged.

        17.     When Plaintiff left the hospital, he had no restrictions other than to “do what he felt

he could do.”

        18.     Plaintiff went to Defendant’s workplace after he returned home. He asked about

going back to work.

        19.     No one asked for a work release. No one asked whether Plaintiff could perform the

job with or without accommodations.

        20.     Plaintiff was told that he had been terminated for “no call no show” because he had

not called in his July 4 absence.

        21.     Plaintiff argued that his grandmother had called in on July 4 and explained his

absence. He was initially told that it was not acceptable to have a third party call on his behalf, that

he had to have made the call himself personally. Plaintiff explained that this would have been

impossible because he was having his hand removed. The handbook does not say that an employee

has to call in his or her absence personally.

        22.     Plaintiff was also told that he had absences on July 2, July 4, July 5, July 8 and that

these absences resulted in his having acquired too many absence “points.”

Plaintiff asks to return to work

        23.     Plaintiff has asked repeatedly to return to work, both in person and in

correspondence from his lawyer. Defendant, his previous employer, refused to give him an


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unconditional offer of reinstatement, even though Plaintiff is capable of doing the essential

functions of his job with or without accommodation.

       24.     Defendant’s refusal to return Plaintiff to work is disability discrimination.

Filing KHRC complaint

       25.     Plaintiff filed a KHRC/EEOC complaint on or about January 10, 2019 alleging that

Defendant’s termination of his employment and failure to reinstate him to his job violated state

and federal disability discrimination laws.

       26.     Plaintiff received a Right to Sue letter from the EEOC on September 4, 2019. He

has exhausted his administrative remedies as to his termination/failure to reinstate claim.

Plaintiff continues to apply for openings at Defendant

       27.     Over the months after filing his discrimination complaint, Plaintiff applied for

openings at Defendant several times.

       28.     Though Defendant had openings and was advertising for jobs for which Plaintiff

was qualified, Defendant did not call Plaintiff and did not re-hire Plaintiff.

       29.     Plaintiff was qualified for the jobs for which he applied and could perform those

jobs with or without accommodation.

       30.     Though Plaintiff knew that people other than he were hired into those jobs, Plaintiff

was never even interviewed.

Second Administrative Complaint

       31.     On July 26, 2019, Plaintiff filed a second administrative complaint, alleging that he

had applied for several open positions at Forte Products in 2018-2019, but not been hired in

retaliation for having filed his earlier administrative complaint.


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         32.     On September 4, 2019, Plaintiff was issued a Right to Sue on his second

administrative compliant. He has exhausted his administrative remedies as to his retaliation failure

to hire claim.

         Count 1—Termination and Failure to Reinstate

         33.     Plaintiff’s employment was terminated because he did not personally call in his

July 4 absence. Plaintiff could not do that because he lost his hand and was being transported to

Tulsa.

         34.     Defendant’s termination of Plaintiff did not accommodate his need to allow others

to call in for him or to be excused for failing to timely call in or to be excused for missing work

when he was in the hospital having his hand removed. Defendant learned Plaintiff had lost his

hand and was in the hospital but still required that he timely call himself in.

         35.     Defendant’s termination of Plaintiff was because Plaintiff was disabled.

         36.     Despite repeated requests, Defendant would not reinstate Plaintiff to his position.

The refusal was disability discrimination and retaliation for complaining about disability

discrimination.

         WHEREFORE, Plaintiff prays for back pay, reinstatement or front pay in lieu of

reinstatement, compensatory damages, punitive damages, and any other such relief as shall be

awarded at law or equity.

         Count 2—Failure to Hire

         37.     After Plaintiff complained that he was discriminated against in his termination, he

continued to apply for openings at Defendant’s plant.

         38.     Plaintiff was qualified for those openings, but he was not hired.


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       39.     Others who were not disabled and had not complained of disability discrimination

were hired or the jobs remained open.

       40.     Plaintiff was not hired because he was disabled and in retaliation for his

complaining about disability discrimination and for filing an administrative complaint.

       WHEREFORE, Plaintiff prays for back pay, reinstatement or front pay in lieu of

reinstatement, compensatory damages, punitive damages, and any other such relief as shall be

awarded at law or equity.

                                               Respectfully submitted,

                                               /s/ Gaye B. Tibbets
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                                               Attorneys for Plaintiff


                            DESIGNATION OF PLACE OF TRIAL

       Plaintiff hereby designates the United States District Court for the District of Kansas at

Topeka, Kansas, as the place of trial.

                                               /s/ Gaye B. Tibbets
                                               Gaye B. Tibbets, #13240



                                 REQUEST FOR JURY TRIAL

       Plaintiff hereby requests a trial by jury on claims triable to a jury.


                                               /s/ Gaye B. Tibbets
                                               Gaye B. Tibbets, #13240
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